Case 3:15-cr-00356-BAS    Document 126     Filed 02/02/16   PageID.448     Page 1 of 6



  1
  2
  3
  4
  5
  6
  7
  8                         UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                      Case No. 15cr0356-BAS
 11                       Plaintiff,                 PRELIMINARY ORDER OF
                                                     CRIMINAL FORFEITURE
 12                v.
 13   FRANCISCO RODRIGUEZ, JR. (4),
          aka "El Pinche Shrekk"
 14
          aka "Shrek",
 15
                          Defendant.
 16
 17         WHEREAS, in the Indictment in the above-captioned case, the United States

 18 sought forfeiture of all right, title and interest in specific properties of the above-
 19 named Defendant, FRANCISCO RODRIGUEZ, JR. ("Defendant"), pursuant to
 20 18 U.S.C. §924(d) and 28 U.S.C. §2461(c) as properties involved in the commission
 21 of 18 U.S.C. §371 as charged in the Indictment; and
 22         WHEREAS, on or about November 19, 2015, Defendant pled guilty before

 23 Magistrate Judge Jill L. Burkhardt to the Indictment, which plea included consent to
 24 the forfeiture allegations of the Indictment, including but not limited to, forfeiture of
 25 the following:
 26               (a)    one MH2B .50 caliber belt fed rifle
                         (serial number 0000075);
 27
                  (b)    one .50 caliber belt fed rifle (serial number 000503);
 28
                  (c)    1,314 rounds of .50 caliber ammunition;
Case 3:15-cr-00356-BAS    Document 126     Filed 02/02/16   PageID.449    Page 2 of 6



                 (d)     217 .50 caliber casings;
  1
                 (e)     6 M-9 .50 caliber links;
  2
                 (f)     one M63 Anti-Aircraft Mount with Spare Cradle;
  3
                 (g)     one Reloading Press;
  4
                 (h)     one Cleaining Kit;
  5
                 (i)     one Link Press;
  6
                 (j)     one .50 caliber belt fed rifle (serial number
  7                      obliterated);
  8              (k)     one AK-47 rifle (serial number N-PAP013769);
  9              (l)     204 .50 caliber rounds;
 10              (m)     one .308 caliber round;
 11              (n)     one PS 90 Belgium              Rifle   (serial   number
                         381SNFN045574);
 12
                 (o)     one AK-47 Romania             Rifle    (serial   number
 13                      S1717862003);
 14              (p)     one AK-47 USA rifle (serial number 39NC05268);
 15              (q)     two AR-15 USA Rifles (serial numbers LW-135197
                         and RM08085);
 16
                 (r)     one AR-15 lower receiver (serial number AR02562);
 17
                 (s)     one 9 mm pistol (serial number 321782);
 18
                 (t)     20 .223 caliber rounds;
 19
                 (u)     one 9 mm magazine;
 20
                 (v)     100 57x28 mm rounds;
 21
                 (w)     one magazine with 30 rounds 7.62 millimeter
 22                      ammunition;
 23              (x)     600 rounds 7.62 mm ammunition;
 24              (y)     414 7.62 ammunition links;
 25              (z)     499 .50 caliber ammunition links;
 26              (aa) 360 rounds of .50 links;
 27              (bb) one Marlin Rifle (serial number 25646310);
 28              (cc)    one Kimber Semi Auto Handgun, 1911 (serial number
                         KRF3845);
                                         2                           15cr0356
Case 3:15-cr-00356-BAS    Document 126     Filed 02/02/16   PageID.450    Page 3 of 6



                  (dd) one semi-auto cold 1911 Handgun .45 cal (serial
  1                    number unknown);
  2               (ee)   one semi-auto cold 1911 Handgun .45 (serial number
                         CGR270);
  3
                  (ff)   one AR upper receiver with black barrel (serial
  4                      number unknown); and
  5               (gg) one AR upper receiver with silver color barrel (serial
                       number unknown); and
  6
  7         WHEREAS, on December 8, 2015, this Court accepted the guilty plea of
  8 Defendant; and
  9         WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture
 10 addendum, the United States has established the requisite nexus between the forfeited
 11 properties and the offense; and
 12         WHEREAS, by virtue of said guilty plea, the United States is now entitled to
 13 possession of the above-referenced properties, pursuant to 18 U.S.C. § 924(d)(1),
 14 28 U.S.C. § 2461(c), 21 U.S.C. § 853 and Rule 32.2(b) of the Federal Rules of
 15 Criminal Procedure; and
 16         WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
 17 authority to take custody of the above-referenced properties which were found
 18 forfeitable by the Court;
 19         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
 20         1.    Based upon the guilty plea of the Defendant, the United States is hereby
 21 authorized to take custody and control of the following assets, and all right, title and
 22 interest of Defendant FRANCISCO RODRIGUEZ, JR. in the following properties
 23 are hereby forfeited to the United States for disposition in accordance with the law,
 24 subject to the provisions of 21 U.S.C. § 853(n):
 25               (a)    one MH2B .50 caliber belt fed rifle
                         (serial number 0000075);
 26
                  (b)    one .50 caliber belt fed rifle (serial number 000503);
 27
                  (c)    1,314 rounds of .50 caliber ammunition;
 28

                                            3                               15cr0356
Case 3:15-cr-00356-BAS    Document 126     Filed 02/02/16   PageID.451    Page 4 of 6



                 (d)     217 .50 caliber casings;
  1
                 (e)     6 M-9 .50 caliber links;
  2
                 (f)     one M63 Anti-Aircraft Mount with Spare Cradle;
  3
                 (g)     one Reloading Press;
  4
                 (h)     one Cleaining Kit;
  5
                 (i)     one Link Press;
  6
                 (j)     one .50 caliber belt fed rifle (serial number
  7                      obliterated);
  8              (k)     one AK-47 rifle (serial number N-PAP013769);
  9              (l)     204 .50 caliber rounds;
 10              (m)     one .308 caliber round;
 11              (n)     one PS 90 Belgium              Rifle   (serial   number
                         381SNFN045574);
 12
                 (o)     one AK-47 Romania             Rifle    (serial   number
 13                      S1717862003);
 14              (p)     one AK-47 USA rifle (serial number 39NC05268);
 15              (q)     two AR-15 USA Rifles (serial numbers LW-135197
                         and RM08085);
 16
                 (r)     one AR-15 lower receiver (serial number AR02562);
 17
                 (s)     one 9 mm pistol (serial number 321782);
 18
                 (t)     20 .223 caliber rounds;
 19
                 (u)     one 9 mm magazine;
 20
                 (v)     100 57x28 mm rounds;
 21
                 (w)     one magazine with 30 rounds 7.62 millimeter
 22                      ammunition;
 23              (x)     600 rounds 7.62 mm ammunition;
 24              (y)     414 7.62 ammunition links;
 25              (z)     499 .50 caliber ammunition links;
 26              (aa) 360 rounds of .50 links;
 27              (bb) one Marlin Rifle (serial number 25646310);
 28              (cc)    one Kimber Semi Auto Handgun, 1911 (serial number
                         KRF3845);
                                         4                           15cr0356
Case 3:15-cr-00356-BAS     Document 126     Filed 02/02/16   PageID.452     Page 5 of 6



                   (dd) one semi-auto cold 1911 Handgun .45 cal (serial
  1                     number unknown);
  2                (ee)   one semi-auto cold 1911 Handgun .45 (serial number
                          CGR270);
  3
                   (ff)   one AR upper receiver with black barrel (serial
  4                       number unknown); and
  5                (gg) one AR upper receiver with silver color barrel (serial
                        number unknown).
  6
  7         2.     The aforementioned forfeited assets are to be held by U.S. Immigration
  8 and Customs Enforcement ("ICE") in its secure custody and control.
  9         3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
 10 to begin proceedings consistent with any statutory requirements pertaining to
 11 ancillary hearings and rights of third parties.
 12         4.     Pursuant to the Attorney General’s authority under Section 853(n)(1) of
 13 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
 14 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
 15 the United States forthwith shall publish for thirty (30) consecutive days on the
 16 Government’s forfeiture website, www.forfeiture.gov, notice of this Order, notice of
 17 the United States’ intent to dispose of the properties in such manner as the Attorney
 18 General may direct, and notice that any person, other than the Defendant, having or
 19 claiming a legal interest in the above-listed forfeited properties must file a petition
 20 with the Court within thirty (30) days of the final publication of notice or of receipt of
 21 actual notice, whichever is earlier.
 22         5.     This notice shall state that the petition shall be for a hearing to
 23 adjudicate the validity of the petitioner's alleged interest in the property, shall be
 24 signed by the petitioner under penalty of perjury, and shall set forth the nature and
 25 extent of the petitioner's right, title or interest in the forfeited property and any
 26 additional facts supporting the petitioner's claim and the relief sought.
 27         6.     The United States may also, to the extent practicable, provide direct
 28 written notice to any person known to have alleged an interest in the properties that

                                             5                                  15cr0356
Case 3:15-cr-00356-BAS    Document 126    Filed 02/02/16   PageID.453    Page 6 of 6




  1 are the subject of the Preliminary Order of Criminal Forfeiture, as a substitute for
  2 published notice as to those persons so notified.
  3        7.     Upon adjudication of all third-party interests, this Court will enter an
  4 Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
  5 aforementioned assets, in which all interests will be addressed.
  6        8.     Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
  7 as to the Defendant at the time of sentencing and is part of the sentence and included
  8 in the judgment.
  9        IT IS SO ORDERED.
 10
      DATED: February 2, 2016
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                           6                               15cr0356
